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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


TIDEWATER MARKETING GLOBAL
CONSULTANTS, INC.,

       Plaintiff,

v.                                                        CASE NO: 8:08-cv-2497-T-26TGW

FREEFUEL CENTER.COM, et al.,

       Defendants.
                                            /


                                          ORDER

       Upon due consideration, it is ordered and adjudged that the Motion for Entry of Default

(Dkt. 11) is denied. According to the waiver of service form filed January 9, 2009, at docket 4,

Defendants have sixty (60) days from January 5, 2009, within which to respond to Plaintiff’s

complaint. That time period has clearly not elapsed.

       DONE AND ORDERED at Tampa, Florida, on February 19, 2009.



                                       s/Richard A. Lazzara
                                     RICHARD A. LAZZARA
                                     UNITED STATES DISTRICT JUDGE

COPIES FURNISHED TO:
Counsel of Record
